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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 JOHN DOE,                                          )
                                                    )
                              Plaintiff,            )
                                                    )
                         v.                         )       No. 1:18-cv-03713-TWP-MJD
                                                    )
 INDIANA UNIVERSITY - BLOOMINGTON,                  )
                                                    )
                              Defendant.            )




                     MINUTE ENTRY FOR DECEMBER 11, 2018
                        TELEPHONIC STATUS CONFERENCE
                   HON. MARK J. DINSMORE, MAGISTRATE JUDGE


        The parties appeared by telephone for a Status Conference. The parties discussed the

 status of discovery. The conference concluded without further order.



        Dated: 11 DEC 2018




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